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              Exhibit 5
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From: Simpler, Jana (DelDOT)
Sent: Thursday, July 22, 2021 4:26 PM
To: kari.lynn.overington@gmail.com
Subject: RE: Please Help

Ms. Overington,

I have been asked to respond to your email inquiry regarding the process for appealing the denial and/or revocation of a
license plate which is determined to contain obscenity, vulgarity, profanity, hate speech or fighting words. The process
for appealing any determination by the Division of Motor Vehicles (DMV) to deny or revoke a vanity license plates
culminates with an appeal to me as Director of the DMV. I understand that you have already received a communication
from Nicole Majeski, the Secretary of the Department of Transportation, to whom I report. Prior to Secretary Majeski’s
email to you of July 12, 2021 advising you that the decision to recall the plate stood, I was consulted by the Secretary
and concurred with and supported her decision. While your inquiry/appeal has taken a slightly different path, at this
time, I can confirm for you that there remain no additional levels of administrative review which can be undertaken
within DelDOT.

Your email below confirming that the “F” does in fact stand for the word “F*@K” confirms that you desire to have a
license plate that contains profanity. In this instance, the word “F*@K” is one that has been determined to be profanity
as evidenced by other governmental agencies, such as the Federal Communications Commission, prohibiting the use of
that word on broadcast television. The word is one that remains within the definition of profanity, such that it is not
appropriate for depiction on a license plate issued by the State of Delaware.

Your email also attached screen shots of other plates which you believe have been issued by DMV. Your belief is not
correct. The screen shots you attached are plates that are not on registered vehicles in Delaware and are plates which
DMV has determined fall within the obscenity, vulgarity, profanity, hate speech or fighting words prohibitions and as
such are not eligible to issue.

I understand you feel strongly about your fight against cancer and I applaud you for your beliefs and your
perseverance. However, I am obligated to ensure that DMV weighs your individual desire to have a license plate
containing the word “F*@K” against the interests of the State.

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Thank you,

Jana Simpler


Jana Simpler
Director, Division of Motor Vehicles
P.O. Box 698
Dover, DE 19903
302-744-2545

Jana.simpler@delaware.gov **Please note new email address


Get Outlook for iOS

From: KARI OVERINGTON <kari.lynn.overington@gmail.com>
Sent: Monday, July 19, 2021 11:24 PM
To: Majeski, Nicole (DelDOT)
Subject: Re: Please Help

Good Evening

I am reaching out to confirm that there are no other appeal processes open to me in regards to my FCANCER vanity
tag. I want to point out that of the thousands of words in the English language that start with the letter F, including
FREEDOM, my tag is being recalled because of the idea that it may stand for the word Fuck. And let's be honest, what
does it matter if that is what the F stands for, my tag does not actually say the word. I'd like to ask you to visit the
website https://www.letsfcancer.com which is the site for Fuck Cancer a 501 (c)3 nonprofit, and one of the charities I
will be raising money for if I have to start a social media campaign to keep my tag and raise awareness.

I am still waiting for the information from my FOIA request, but through my own research on the DMV website Vanity
Search and Reservation tool I was able to find several plates that contain "perceived profanity" or implied profanity that
are currently on the roads in Delaware, two examples attached. I am not pointing this out because I want anyone else
to go through what I am going through, but to point out the arbitrary nature of the identification of "perceived
profanity". I also want to point out that DelDOT uses implied profanity in their own signs. Specifically the "Get your
head out of your Apps (ASS)" and "Oh Cell (HELL) No" variable message signs.

If there are any other appeal options available to me please let me know what they are so I can follow through. If there
are no other appeal options open to me and the decision to recall my plate is considered final please confirm that for me
so I can provide that information to the ACLU and any attorney I end up working with.

Thank you for your time and please don't hesitate to call (410-960-9127) or email me if you would like to discuss this
further.

Kari Overington




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On Wed, Jul 14, 2021 at 1:43 PM Majeski, Nicole (DelDOT) <Nicole.Majeski@delaware.gov> wrote:

 Dear Ms. Overtington,



 Our FOIA Coordinator will be in touch with you shortly regarding your FOIA requests.



 I have also forwarded your email over to the Governor’s Office.



 Thank you,

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Nicole




From: KARI OVERINGTON <kari.lynn.overington@gmail.com>
Sent: Tuesday, July 13, 2021 1:32 AM
To: Majeski, Nicole (DelDOT) <Nicole.Majeski@delaware.gov>
Cc: Simpler, Jana (DelDOT) <Jana.Simpler@delaware.gov>
Subject: Re: Please Help



Good Evening



I am incredibly disappointed and a little heartbroken after reading your reply. It has been my desire from the
start to handle this quietly "in house" so to speak, unfortunately it seems that is not going to be possible. I
submitted two FOIA requests for a list of approved vanity plates in Delaware and I have not heard back about
either of them. Are you able to check their status?



In my limited correspondence with state Senators and Representatives, I have received positive feedback and
I believe that more than a few of them would agree with the below statement, which although the cases in
question were about Trademark law, they were later used as precedent in cases about vanity plates.



From https://knowledge.wharton.upenn.edu/article/supreme-court-profanity-ruling/ "In both cases, the high
court ruled in favor of the applicants because profanity is subjective. Although the decision was split, all
justices agreed that the disparagement provision “violated the First Amendment because it discriminated on
the basis of viewpoint.” In other words, government bureaucrats shouldn’t be allowed to decide what
they think is offensive language."



Would you be able/willing to take my request to keep my vanity tag to Governor Carney? In other states the
Governor has gotten involved in these cases and the person was able to keep their vanity tags. I'd be
disappointed if Governor Carney was not willing to at least consider stepping in, especially given his work with
the Delaware Cancer Consortium and his connection to Beau Biden and the entire Biden family.



Thank you for taking the time to review my requests and I am looking forward to your response.



Kari Overington




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how cancer has touched their lives because of it. The community of cancer warriors, cancer survivors, and those who
love them is far reaching and very supportive.

Once I got over the shock of the letter from the DMV and the brush off I received when I called I did additional
research. I have submitted a FOIA request for a listing of all approved vanity plates in the state of Delaware, because
one of the first things I noticed after I was told my plate was being recalled was how many other equally “offensive”
plates that don’t “represent the State and the Division in a positive manner” are on the roads. I don’t mention this
because I believe others should have their plates recalled, but to point out the subjective nature of the
process. There have been rulings in several court cases in recent years, including a 2020 case in California and a 2021
case in Rhode Island, that not only addressed the issue of free speech as it applies to vanity tags, but also that
regulations governing the issuance of vanity tags must be “viewpoint neutral”.

Delaware Regulation 2285 Section 1.1 states in part “Motor vehicle specialists must be extremely careful when
issuing vanity license plates to ensure obscene plates are not issued”. I have consulted information available on the
Cornell Law School website in regards to the legal definition of “obscene” and found the following:

“Currently, obscenity is evaluated by federal and state courts alike usi ng a tripartite standard established by Miller v.
California. The Miller test for obscenity includes the following criteria: (1) whether ‘the average person, applying
contemporary community standards’ would find that the work, ‘taken as a whole,’ appeals t o ‘prurient interest’ (2)
whether the work depicts or describes, in a patently offensive way, sexual conduct specifically defined by the applicable
state law, and (3) whether the work, ‘taken as a whole,’ lacks serious literary, artistic, political, or scientific value.”

Using the above standards it is my belief that “the average person” would not find my FCANCER vanity tag to be
obscene and I hope you agree.

I appreciate that you have taken the time to read this correspondence and the attached letter from the DMV and I
am grateful for anything you can do to help me convince the DMV to reverse their decision and allow me to keep my
tag. Please do not hesitate to call or email me back if you have any questions or suggestions for my next course of
action.




Sincerely,

Kari Lynn Overington, MBA

410-960-9127




Here are links to the items quoted above and other relevant information for your reference

https://regulations.delaware.gov/AdminCode/title2/2000/2200/Vehicle/2285.pdf

https://www.law.cornell.edu/wex/obscenity

https://apnews.com/article/freedom-of-speech-california-us-news-san-francisco-oakland-
ea43f5c5105177293254b8e6cdc13341



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https://www.providencejournal.com/story/news/local/2021/02/22/ri-vanity-plates-stalled-fkgas-court-
case/4509964001/

https://ilr.law.uiowa.edu/print/volume-106/vanity-lawfare-vanity-license-plates-and-the-first-amendment/

https://www.delawareonline.com/story/news/2020/02/11/it-always-cracks-us-up-delaware-drivers-talk-their-vanity-
plates/2855504001/




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